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WCS and Kroger Family Suncor Price Comparisons

Fountain: #2D 15 PPM SULFUR MV DIESEL
JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC
2009
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2010
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[Jwcs paid a higher price fjwcs paid a lower price [ No comparable transaction

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WCS and Kroger Family Suncor Price Comparisons

Fountain: UNL CONV 85 10% ETH G
JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC
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Case 1:11-cv-01611-MSK-CBS Document 264-6 Filed 11/20/13 USDC Colorado Page 3 of 4

WCS and Kroger Family Suncor Price Comparisons

Fountain: UNL CONV 87 10% ETH G
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC

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Case 1:11-cv-01611-MSK-CBS Document 264-6 Filed 11/20/13 USDC Colorado Page 4 of 4

WCS and Kroger Family Suncor Price Comparisons

Fountain: UNL CONV 91 10% ETH G
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fjwcs paid a higher price Jwcs paid a lower price [ No comparable transaction
